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            UNITED STATES DISTRICT COURT

            SOUTHERN DISTRICT OF GEORGIA

                     STATESBORO DIVISION

UNITED STATES OF AMERICA )
                         )
v.                       ) Case No. CR609-048
                         )
MICHAEL PAUL SANDERS     )

                                ORDER

     Michael Paul Sanders, convicted on September 1, 2010 of

participation in a large drug conspiracy, asks the Court to provide him

with free copies of his sentencing transcript, plea agreement,

superseding indictment, and “any miscellaneous motions, briefs,

orders, etc.” (Doc. 1057.) In other words, he wants the court reporter

to prepare and provide a free copy of his transcripts and the clerk to

print and mail, at public expense, every document filed in his case.

     Sanders has not appealed or filed a non-frivolous 28 U.S.C. § 2255

motion, though he asserts he will file a § 2255 motion alleging

prosecutorial misconduct. (Doc. 1061.) It is doubtful he can do so, as

he acceded to a limited waiver of his appellate and collateral rights
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when he entered his plea. (Doc. 775 (plea agreement).) Moreover, it

appears that the time for filing such a motion has long since expired.

28 U.S.C. § 2255(f)(1) (requiring a movant to file a § 2255 motion

within one year of the date his conviction becomes final). Absent a

non-frivolous appeal or § 2255 motion, Sanders is not entitled to a free

copy of any Court records.          United States v. Ciszowksi , 2008 WL

2742697 at *1 (M.D. Fla. July 11, 2008), citing Skinner v. United States ,

434 F.2d 1036, 1037 (5th Cir. 1970)1; see also 28 U.S.C. § 753(f) (“Fees

for transcripts furnished in proceedings brought under section 2255 of

this title to persons permitted to sue or appeal in forma pauperis shall

be paid by the United States out of money appropriated for that

purpose if the trial judge or a circuit judge certifies that the suit or

appeal is not frivolous and that the transcript is needed to decide the

issue presented by the suit or appeal.”); cf. 28 U.S.C. § 2250 (“If on any

application for a writ of habeas corpus an order has been made

permitting the petitioner to prosecute the application in forma

      1
        Skinner is binding Eleventh Circuit precedent. Bonner v. City of Prichard,
661 F.2d 1206, 1209 (11th Cir. 1981) (en banc) (adopting as binding precedent all
decisions of the former Fifth Circuit decided prior to October 1, 1981).
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pauperis, the clerk of the court of the United States shall furnish the

petitioner without cost certified copies of such documents or parts of

the record on file in his office as may be required by order of the judge

before whom the application is pending.”). Consequently, Sanders’

motion requesting “specific court documents” at public expense (doc.

1057) is DENIED .

     SO ORDERED this            1st         day of February, 2013.


                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




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